           Case 2:15-cr-00140-DC-EFB Document 124 Filed 11/29/17 Page 1 of 2


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4
     Attorneys for Defendant, Rafael Pahua Martinez
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8
                              IN THE UNITED STATES DISTRICT COURT
9
                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                 )
11                                             )               Case No.: 2:15-CR-00140-MCE
12
                       Plaintiff,              )
                                               )               STIPULATION AND
13                v.                           )               ORDER TO CONTINUE
                                               )               JUDGMENT AND SENTENCING
14   RAFAEL PAHUA MARTINEZ,                    )               HEARING
15
                                               )
                                               )               Date: January 11, 2018
16                     Defendant.              )               Time: 10:00 a.m.
                                               )               Court: Hon. Morrison C. England, Jr.
17
     __________________________________________)
18

19
            Plaintiff, United States of America, by and through its counsel, Assistant United States

20   Attorney Paul A. Hemesath, Defendant Rafael Pahua Martinez, by and through his attorney

21   Michael M. Rooney, agree and hereby stipulate the following:

22          1. By previous order, this matter was set Judgment and Sentencing on January 11, 2018.
23          2. By this stipulation Defendant now moves to continue the hearing until February 8,
24   2018 at 10:00 a.m.
25          3. An interview between the United States Probation Office and Defendant has been
26   scheduled for November 30, 2017. Additional time is required for the Probation Officer to be
27
     able to prepare and submit her Presentence Report.
28




                                                1 JUDGMENT AND SENTENCING HEARING
                STIPULATION AND ORDER TO CONTINUE
           Case 2:15-cr-00140-DC-EFB Document 124 Filed 11/29/17 Page 2 of 2



1           3. The parties agree and stipulate, and request the Court order the following sentencing
2    schedule:
3           February 8, 2018 - Judgment and Sentencing Date
4
            February 1, 2018 – Reply, or Statement of Non-Opposition
5
            January 25, 2018 – Motion for Correction of the Presentence Report shall be filed with
6
                                the Court and served on Probation Officer and Opposing Counsel.
7
            January 18, 2018 – Presentence Report shall be filed with the Court and disclosed to
8
                                Counsel
9
            January 11, 2018 – Counsel’s written objections to the Presentence Report shall be
10
                                  delivered to the Probation Officer and Opposing Counsel
11
            December 28, 2017 – Proposed Presentence Report shall be disclosed to counsel
12
                                                       /s/ Michael M. Rooney
13
     Dated: November 20, 2017                       _______________________________________
14                                                  MICHAEL M. ROONEY
                                                    Attorney for Defendant, Rafael Pahua Martinez
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16

17                                                     /s/ MMR for Paul A. Hemesath
     Dated: November 20, 2017                       _______________________________________
18                                                  PAUL A. HEMESATH
19
                                                    Assistant United States Attorney
                                                    Attorney for Plaintiff, United States of America
20

21          IT IS SO ORDERED.
22
     Dated: November 28, 2017
23

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                                                 2 JUDGMENT AND SENTENCING HEARING
                 STIPULATION AND ORDER TO CONTINUE
